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                             IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                                       GREENSBORO DIVISION

IN RE:
 KEITH R. NEWMAN AND LISA O. NEWMAN                                               12-11567
                                                                                 Chapter 13


  NOTICE OF APPEARANCE PURSUANT TO RULE 9010 (b) and REQUEST FOR NOTICES UNDER
                                  RULE 2002

To the Clerk of the United States Bankruptcy Court:


         PLEASE TAKE NOTICE and pursuant to Rule 9010 (b) of the Federal Rules of Bankruptcy Procedure
enters the appearance of:


                                             Shapiro & Ingle, L.L.P.
                                        10130 Perimeter Parkway, Suite 400
                                               Charlotte, NC 28216


as counsel for Select Portfolio Servicing, Inc. Servicer for Madison Revolving Trust 2017 ("Select Portfolio
Servicing, Inc."), a creditor of the above named Debtor(s).


        REQUEST is further made by counsel that all Notices required to be given to parties in interest pursuant to
Rule 2002 of the Federal Rules of Bankruptcy Procedure be mailed to counsel.


                                            /s/Michael Jay Emrey
                                            Michael Jay Emrey, Attorney for Creditor, Bar # 49187
                                            memrey@logs.com |704-831-2315
                                            Shapiro & Ingle, LLP
                                            10130 Perimeter Pkwy, Suite 400
                                            Charlotte, NC 28216
                                            Phone: 704-333-8107 | Fax: 704-333-8156
                                            Supervisory Attorney Contact: Jonathan Davis
                                            jodavis@logs.com | 704-831-2392
                                            Electronic Service Notifications: ncbkmail@shapiro-ingle.com
